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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

METROPOLITAN CAPITAL ADVISORS
INTERNATIONAL LTD. and JEFFREY E.
SCHWARZ, derivatively on behalf of NAVIOS
MARITIME ACQUISITION CORPORATION
Plaintiffs,
Vv.
NAVIOS MARITIME HOLDINGS, INC.,
Defendant,

-and-

NAVIOS MARITIME ACQUISITION
CORPORATION,

Nomina! Defendant.

 

 

 

 

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Case No. 1:16-cv-02437

Judge: Alison J. Nathan

VOLUNTARY DISMISSAL OF
PLAINTIFF METROPOLITAN
CAPITAL ADVISORS LTD.

Pursuant to Rules 23.1(c) and 41(a)(2) of the Federal Rules of Civil Procedure, and in order

to maintain the diversity jurisdiction of this Court, Plaintiff Metropolitan Capital Advisors

International Ltd., through its undersigned counsel, hereby requests that the Court approve its

voluntarily dismissal in the above-captioned action solely as to itself without prejudice and without

cost to any party. This voluntary dismissal shall not affect the rights or claims of Plaintiff Jeffrey

E. Schwarz, who will remain a plaintiff in the above-captioned action until all related matters,

including his anticipated request for an award of attorneys’ fees, are resolved.
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BERNSTEIN LITOWI
BERGER & GROSS N LLP

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Ma Pic,

Dated: New York, New York
April 28, 2016

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Attorneys for Plaintiffs Metropolitan

Capital Advisors International Ltd. and
Jeffrey E. Schwarz

SO ORDERED.

  

DATED: April Of 2016

 

Alison J. Nathan Qe
United States District Judge
